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%AO 245|3 (Rev. 06/05) Judgment in a Criminal Case

 

 

 

 

 

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UNITED STATES DISTRICT CoURT
EASTERN DBHMUF ARKANSAS
UNITED STATES OF AMERICA 'T-'_-CAHENDED JUDGMENT IN A CRIMINAL CASE
V’
Case Number: 4:05cr00206-01 JMM
USM Number: 23813-009
AARON LEWIS
Lisa Peters
Defendant’s Attomey
THE DEFENDANT:

X pleaded guilty to count(s) 1 of the Indictment

l:l pleaded nolo contendere to oount(s)

 

“jhjch was accepted by the court.

l:l Was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title 8c Sectioo Nagre of Ofl`ense Offense Eoded Couot
26 USC §5861(d)(1) Possession of a Destructive Device, a Class C Felony 04!27!05 1
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
l:lThe defendant has been found not guilty on count(S)

 

X Count(s) 2 of the Iodictmeot X is l:l are dismissed on the motion of the United States.

_ It is ordered that the defendant must notify the Uni_ted States attorney for this district within 30 da of any change of name, residence,
or mailin%address untll_all fines, restitution,_costs, and special assessments imposed by this judgment are ly paid. lf ordered to pay restitution,
the defen ant must notify the court and Un1ted States attorney of material changes in economic circumstances

Aprii 7. 2006
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Unature of lodge
APR l 1 2005
James M. Moody
JAMES \N. MccoRMACK. CLF-P~K UNlTED sTATEs DISTRICr JUDGE
By._ _____________-Fip-Mk Name and "I`itle of Jl.ldge

Ao,`..\ ll \ 2000

Date

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AO 245B (Rev. 06/05) ludgment in a Criminal Case
Sheet 4_Probation

 

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DEFENDANT: AAR()N LEWIS

CASE NUMBER: 4:05cr00206-01 .IMM
PROBATION

The defendant is hereby sentenced to probation for a three (3) years

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at east two periodic drug tests
thereafter, as determined by the court.

|:| The above drug testing condition is suspended, based on the oourt’s determination that the defeth poses a low risk of

future substance abuse. (Check, if applicable.)
X The defendant shall not possess a tirearin, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation ocher. (Check., if applicable.)

l:l The defendant shall register with the state sex offender registration agency iii the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

l:l The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this jud ent imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Paynients sheet of t is judgment.

The defendant must comply with the stande conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS ()F SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation ofEcer;

2) the 1cliefendl¢';`int shall report to the probation officer and shall submit a truthful and complete written report within the Erst five days of
eac mont ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, tiaining, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain fro_m excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any ersons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so y the pro ation ofEcer;

10) the defendant shall permit a_ probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the oourt; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned_by _the defendant’s criminal
record or ersona history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement.

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Sheet 4B _ Prohai.ion

 

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DEFENDANT: AAR()N LEWIS

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ADDITIONAL STANDARD CONDITIONS ()F SUPERVISION

14) The defendant shall participate under the guidance and supervision of the probation officer, in a substance abuse
treatment pro am whic may include testin , outpatient counseling, and residential treatment Further the defendant shall
abstain from t e use of alcohol throughout t e course of treatment.

1§1) The defendant shall participate in mental health counseling under the guidance and supervision of the U. S. Probation
o ice.

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Sheet 5 _ Criminal Monetary Penalties

 

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DEFENDANT: AARON LEWIS

CASE NUMBER: 4:0501‘00206-01 JMM
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
ToTALs s 100.00 s 0 $ 0
[:I The determination of restitutionis deferred until . An Amended .Iudgment in a Crimi'rial Case (AO 245C) will be entered

after such determination
[:I The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximatel{]piéo ortioned ayment, unless specified otherwise in

the priority order or percentage payment column elow. However, pursuant to 18 . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name ofPayee TotalLoss* R ' ' 0 e Priority or Percentage
TOTALS $ 0 $ 0

I:| Restitution amount ordered pursuant to plea agreement $

|:| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

EI The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|:| the interest requirement is waived for the |:| fine |:| restitution.

[:I the interest requirement for the I:l fine I:l restitution is modified as follows:

"‘ Findings for the total amount of losses are required under Chapters 109A., 110, 110A., and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 6 _ Schedule of Payments

ludg'ment _ Page § of 5 _
DEFENDANT: AARON LEWIS
CASE NUMBER: 4:05€1'00206-01 .]MM

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A X Lunip sum payment of $ 100.00 due immediately, balance due

|:| not later than ,or
|:| inaccordance |:| C, |:| D, |:| E,or |:| Fbelow; or

|:| Payment to begin immediately (may be combined with |:| C, |:| D, or |:| F below); or
C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D |:| Payment in equal (e.g., week]y, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisomnent. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that tiine; or

F |:| Special instructions regarding the payment of criminal monetary penalties:

linless the court has expressl ordered otherwise, if this judgment imposes iinpiisonment, pa ent of criminal monetary penalties is due durin
imprisonment Al| crimma mone penalties, except ose payments made through t e Federal Bureau of Prisons’ lnmate Financia
Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Aiiiount,
and corresponding payee, if appropriate.

l:l The defendant shall pay the cost of prosecution
l:l The defendant shall pay the following court cost(s):
l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (R assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest1 (6) community restitution, (7) pen ties, and (8) costs, including cost of prosecution and court costs.

